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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )        2:94cr62-MHT
DONALD MINEFIELD, a/k/a           )             (WO)
DONALD MINNIFIELD                 )

                              OPINION

    Pursuant to 18 U.S.C. § 3582(c)(2), defendant Donald

Minefield, a federal inmate, filed a motion seeking a

sentence reduction.       The motion is now before the court

on the recommendation of the United States Magistrate

Judge that the motion be denied.            Also before the court

are Minefield’s objections to the recommendation.                 After

an independent and de novo review of the record, the

court concludes that Minefield’s objections should be

overruled   and    the    magistrate      judge’s     recommendation

adopted.
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 An appropriate judgment will be entered.

 DONE, this the 7th day of December, 2007.



                           /s/ Myron H. Thompson
                        UNITED STATES DISTRICT JUDGE
